&lt;div class="content"&gt;
    &lt;div class="html-children"&gt;
        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="7fd39240b4"&gt;&lt;span data-sentence-id="b3138a4ec5" quote="false" data-paragraph-id="7fd39240b4"&gt; Brian Scott Willert, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="7aeebcfb3e" quote="false" data-paragraph-id="7fd39240b4"&gt; &lt;br /&gt; The People of the State of Colorado Respondent &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="f6acb6cd02"&gt;No. 22SC170&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1443c1f62f"&gt;September 26, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="078638df6c"&gt;&lt;span data-sentence-id="40fa51450e" quote="false" data-paragraph-id="078638df6c"&gt; Court of Appeals Case No. 18CA2053 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="5206077a6e"&gt;&lt;span data-sentence-id="70dfb4add5" quote="false" data-paragraph-id="5206077a6e"&gt; Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
    &lt;/div&gt;
&lt;/div&gt;